                 Case 2:18-cr-00043-SAB                   ECF No. 47                filed 07/13/18        PageID.283 Page 1 of 7
                                                                                                                                    FILED IN THE
 2$2%    5HY-XGJPHQWLQD&ULPLQDO&DVH                                                                         U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                        EASTERN DISTRICT OF WASHINGTON




                                              81,7('67$7(6',675,&7&2857 Jul 13, 2018                                        SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE
                      V.
               DELBERT DANIEL GEORGE                                         &DVH1XPEHU           2:18-CR-00043-SAB-1

                                                                             8601XPEHU            15504-023

                                                                                    John Barto McEntire, IV
                                                                             'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQWV
 G                                     1 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQWV
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQWV
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                       Offense Ended Count
18 U.S.C. § 751(a) and 4082(a)            Escape from Custody                                                                           03/08/18    1




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                       7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQWV
 G &RXQWV                                                         G LV       G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               7/12/2018
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                             6LJQDWXUHRI-XGJH




                                                             The Honorable Stanley A. Bastian                     Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                             7/13/2018
                                                             'DWH
                                                             
               Case 2:18-cr-00043-SAB                   ECF No. 47          filed 07/13/18         PageID.284 Page 2 of 7
$2%   5HY-XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   7
'()(1'$17 DELBERT DANIEL GEORGE
&$6(180%(5 2:18-CR-00043-SAB-1


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI         6 month(s)

       To be served consecutive to the terms imposed in 3:13-CR-00198-BLW-001 (Idaho) and 2:14-CR-00093-BLW-001 (Idaho).




   ✔
   G   7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV

        That the Defendant: (1) be designated to the SeaTac, Washington facility for the purpose of family visitation; and (2) be allowed to
 participate with the Native American Spiritual Leader.


   ✔
   G   7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G   7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW

       G     DW                                      G DP     G    SP       RQ                                             

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G   7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV

       G     EHIRUHSPRQ                                               

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


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                                                                                                   '(387<81,7('67$7(60$56+$/
                Case 2:18-cr-00043-SAB               ECF No. 47         filed 07/13/18        PageID.285 Page 3 of 7
$2%5HY -XGJPHQWLQD&ULPLQDO&DVH
                     6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                         -XGJPHQW²3DJH    3    RI        7
'()(1'$17 DELBERT DANIEL GEORGE
&$6(180%(5 2:18-CR-00043-SAB-1
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI            3 year(s)
      To run concurrent to the terms imposed in 3:13-CR-00198-BLW-001 (Idaho) and 2:14-CR-00093-BLW-001 (Idaho).



                                                    MANDATORY CONDITIONS
    <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
   <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ
   <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
            G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW
VGHWHUPLQDWLRQWKDW\RX
               SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
    ✔
      G <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
     G<RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW86&et seqDV
           GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
           DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
     G   <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

<RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
SDJH
               Case 2:18-cr-00043-SAB                   ECF No. 47       filed 07/13/18        PageID.286 Page 4 of 7
$2%5HY   -XGJPHQWLQD&ULPLQDO&DVH
                        6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        7
'()(1'$17 DELBERT DANIEL GEORGE
&$6(180%(5 2:18-CR-00043-SAB-1

                                        STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
      ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWVVXFKDVWKHSHRSOH\RXOLYHZLWK\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPHDWOHDVWKRXUVSHUZHHNDWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUNVXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
    ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQLHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV
   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
   ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDW\RXSD\LQDFFRUGDQFH
      ZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW<RXVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLF
      FLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\DQ\XQSDLGDPRXQWRIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW
V6LJQDWXUH                                                                                    'DWH
$2%
             Case 2:18-cr-00043-SAB
           5HY-XGJPHQWLQD&ULPLQDO&DVH
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           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                     -XGJPHQW²3DJH     5      RI       7
'()(1'$17 DELBERT DANIEL GEORGE
&$6(180%(5 2:18-CR-00043-SAB-1

                                         SPECIAL CONDITIONS OF SUPERVISION
 1) You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises may be
 subject to search.

 2) You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 3) You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 4) You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain from alcohol and
 must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in order to
 confirm continued abstinence from this substance.
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$2%5HY -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                             -XGJPHQW²3DJH       6    RI        7
 '()(1'$17 DELBERT DANIEL GEORGE
 &$6(180%(5 2:18-CR-00043-SAB-1
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                  JVTA Assessment*                     Fine                        Restitution
 TOTALS             $        $100.00            $         $0.00                      $          $0.00            $
                                                                                                                               $0.00


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                     .$QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQLQFOXGLQJFRPPXQLW\UHVWLWXWLRQWRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86&LDOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

     Name of Payee                                                             Total Loss**             Restitution Ordered      Priority or Percentage




                                                                  0.00                                       0.00
 TOTALS                              $                                           $


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUH WKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86&I$OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86&J

 G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRU WKH           G ILQH         G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH        G      UHVWLWXWLRQLVPRGLILHGDVIROORZV

  -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO
$2%       Case 2:18-cr-00043-SAB
           5HY-XGJPHQWLQD&ULPLQDO&DVH    ECF No. 47         filed 07/13/18       PageID.289 Page 7 of 7
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      7     RI       7
'()(1'$17 DELBERT DANIEL GEORGE
&$6(180%(5 2:18-CR-00043-SAB-1

                                                       SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G    /XPSVXPSD\PHQWRI                           GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                  RU
           G     LQDFFRUGDQFH          G   &    G     '   G     (RU    G     )EHORZRU

B     ✔
      G    3D\PHQWWREHJLQLPPHGLDWHO\PD\EHFRPELQHGZLWK             G &       G 'RU    ✔)EHORZRU
                                                                                                 G
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUVWRFRPPHQFH                HJRUGD\VDIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                        HJPRQWKVRU\HDUVWRFRPPHQFH                HJRUGD\VDIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                 HJRUGD\VDIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔
      G    6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV

      Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
      penalties are payable on a quarterly basis of not less than $25.00 per quarter.

      While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
      defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHURLGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW
 &RXUW$WWHQWLRQ)LQDQFH32%R[6SRNDQH:$

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUVLQFOXGLQJGHIHQGDQWQXPEHU7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVWV

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHUDVVHVVPHQWUHVWLWXWLRQSULQFLSDOUHVWLWXWLRQLQWHUHVWILQHSULQFLSDO
ILQHLQWHUHVWFRPPXQLW\UHVWLWXWLRQ-97$DVVHVVPHQWSHQDOWLHVDQGFRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQG
FRXUWFRVWV
